                     Case No. 23-1374 & 23-1880

               UNITED STATES COURT OF APPEALS
                   FOR THE EIGHTH CIRCUIT

           BROOKE HENDERSON and JENNIFER LUMLEY,

                                           Plaintiffs-Appellants,
                                    v.
          SCHOOL DISTRICT OF SPRINGFIELD R-12, et al.,
                                             Defendants-Appellees.

    BRIEF AMICUS CURIAE OF GOLDWATER INSTITUTE,
KANSAS JUSTICE INSTITUTE, MISSISSIPPI JUSTICE INSTITUTE,
  AND SHOW ME INSTITUTE IN SUPPORT OF APPELLANTS
           AND REVERSAL OF ATTORNEY FEES

             On Appeal from the United States District Court
             for the Western District of Missouri - Springfield
       Case No. 6:21-cv-03219, Hon. M. Douglas Harpool, presiding

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                IDENTITY AND INTEREST OF AMICI CURIAE

       The identity and interest of amici are set forth in the accompanying motion

for leave to file.

             INTRODUCTION AND SUMMARY OF ARGUMENT

       The panel established a new, unprecedented rule requiring plaintiffs in

“chill” cases to actually self-censor before they have standing. That’s never been

the law. The precedent of this and most other circuits holds that a plaintiff can

bring a chill case if a reasonable person would have self-censored, even if she

didn’t. The panel’s new rule will bar the courthouse door to precisely those people

who are in the best position to challenge speech-chilling government actions—

thereby ensuring that such actions escape judicial review.

       With regard to the compelled speech claim, the panel ignored the rule of Lee

v. Weisman, 505 U.S. 577 (1992), which held that intense peer pressure and other

forms of intimidation can amount to coercion for purposes of a compelled speech

claim—and “anti-racism” (“AR”) doctrine is inherently coercive because it holds

that to disagree with it is a form of racism—which brings about the severest social

and employment consequences for public school employees.




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                                     ARGUMENT

I.      The panel’s new standing rule for “speech chill” cases penalizes people
        for having the courage to speak—and ensures that “speech chills” will
        escape judicial review.

        The panel held that “[t]o establish a chilling injury, the plaintiffs must show

that they self-censored to avoid a credible threat of prosecution or other adverse

action.” Slip Op. at 7. That’s not the law, never has been, and conflicts with the

precedent of this Circuit and most others. That alone requires correction by the en

banc court.

        Standing in chill cases depends not on whether the plaintiff self-censors, but

whether “a person of ordinary firmness” would self-censor. This Court said so in

Garcia v. City of Trenton, 348 F.3d 726, 729 (8th Cir. 2003): “[t]he question is not

whether the plaintiff herself was deterred” from speaking, but whether “a

reasonable person” would have been. Id. (emphasis added). That means a

plaintiff can still bring a chill claim even if she went ahead and spoke out. The

plaintiff in Garcia, in fact, did continue speaking—but could still sue because a

person of ordinary prudence would not have.

        That’s the rule in most circuits: even someone “who perseveres despite

governmental interference” can still challenge the constitutionality of a speech

restriction. Eaton v. Meneley, 379 F.3d 949, 955 (10th Cir. 2004); accord, Agosto–

de–Feliciano v. Aponte–Roque, 889 F.2d 1209, 1217 (1st Cir. 1989); Poole v.


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Horn, 318 F.3d 523, 530 (3d Cir. 2003); Thaddeus–X v. Blatter, 175 F.3d 378, 396

(6th Cir. 1999) (en banc); Bart v. Telford, 677 F.2d 622, 625 (7th Cir. 1982);

Mendocino Env’t Ctr. v. Mendocino Cnty., 192 F.3d 1283, 1300 (9th Cir. 1999);

Poole v. County of Otero, 271 F.3d 955, 960 (10th Cir. 2001)1; Toolasprashad v.

Bureau of Prisons, 286 F.3d 576, 585 (D.C. Cir. 2002).

       These cases all say that the standing inquiry in a chill case “is an ‘objective

one, not subjective,’” and that the question is not whether a person actually self-

censored but whether a person of “ordinary firmness” would have. Santiago v.

Blair, 707 F.3d 984, 992 (8th Cir. 2013) (citation omitted).

       Yet the panel held that because these Plaintiffs had the courage of their

convictions and continued to speak despite the pressures brought to bear on them,

they lacked standing. Disregarding the overwhelming body of precedent, it held

that plaintiffs in chill cases must first make “deci[de] to self-censor in light of the

potential penalties.” Slip Op. at 7.

       The problem with that new, subjective rule is that it punishes people for

standing up to restrictions on their speech rights. That’s why the Ninth Circuit

rejected it, saying it “would be unjust [because it would] allow a defendant to

escape liability for a First Amendment violation merely because an unusually


1
 Contra, Rio Grande Found. v. City of Santa Fe, 7 F.4th 956, 960–61 (10th Cir.
2021) (holding, despite Poole, that plaintiff could not bring chill case because it
continued to speak despite the chill).
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determined plaintiff persists in his protected activity”—which is exactly what’s

happening here. Mendocino Env’t Ctr., 192 F.3d at 1300.

         Moreover, the panel’s new rule will close the courthouse doors to precisely

those plaintiffs who are in the best position to challenge speech restrictions. It’s

people of “extraordinary persistence,” Rodriguez v. Serna, No. 1:17-cv-01147-WJ-

LF, 2019 WL 2340958, at *8 (D.N.M. June 3, 2019)—those most likely to defy a

speech chill—who are also most likely to risk the hostility and spend the money

necessary to go to court over a speech burden. By contrast, people who “deci[de]

to self-censor in light of the potential penalties” are also more likely not to sue.

Slip Op. at 7. So the panel’s new rule will increase the risk that speech chills will

go unchallenged—precisely because they’re effective. And that “‘reward[s]’

government officials for picking on unusually hardy speakers,” Bennett v. Hendrix,

423 F.3d 1247, 1252 (11th Cir. 2005), which, in turn, emboldens them to

intimidate the least powerful and most marginalized elements of society.

II.      The panel’s compelled-speech theory ignored the context and
         established a rule whereby victims of compelled speech are barred from
         vindicating their rights.

         The panel found that even though the Plaintiffs were required to attend the

AR training, and to provide the so-called “correct” answers to the test at the end,

this was nevertheless not compelled speech because all that happened was that

Plaintiffs were required to “identify the question’s credited response.” Slip Op. at


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11. This fallacious conclusion led it to conclude that the Plaintiffs lacked a

cognizable constitutional injury.

      That’s fallacious because the whole point of compelled speech theory is that

when the state forces someone to affirm something, or conditions benefits and

burdens on such an affirmance in a way that’s tantamount to compulsion, the state

has intruded on that person’s freedom of conscience and expression. And that is

synonymous with “identifying the state’s credited response.”

      By the panel’s logic, the Jehovah’s Witness schoolchildren who were forced

to pledge allegiance in West Virginia Board of Education v. Barnette, 319 U.S.

624, 642 (1943), were not being deprived of their First Amendment rights; they

were simply indicating that they knew what the state expected of them. And the

pregnancy center operators in NIFLA v. Becerra, 585 U.S. 755, 766 (2018),

weren’t being compelled to speak—they were simply demonstrating their

familiarity with the kind of disclosures the state required. Of course, that’s

illogical, because compelled speech doctrine forbids the state from compelling a

person to “speak a particular message.” Id.

      True, the state can (a) hire speakers, including teachers, and establish a

curriculum for them to employ, even if they personally disagree with it, and (b)

implement educational and training rules whereby employees are required to

demonstrate familiarity with the materials being taught, regardless of their personal


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beliefs. A fundamentalist Christian teacher can be required to teach about

evolution, and a socialist employee can be required to read and pass an exam on

Adam Smith’s Wealth of Nations, without running afoul of compelled speech

doctrine. But that’s categorically different from what happened here. These

Plaintiffs were required to attend and participate in the training session, where they

were directed to “acknowledge YOUR privilege,” and “become anti-racist

educators,”2 and, when they objected, they were told that they were “confused and

wrong” and “needed to work on [themselves],” Henderson v. Sch. Dist. of

Springfield R-12, 650 F. Supp.3d 786, 793, 796 (W.D. Mo. 2023)—not merely that

they could have a different opinion but had to master the material.

        Moreover, the panel’s opinion disregards the context—and context is

everything in compelled-speech law. Glickman v. Wileman Bros. & Elliott, Inc.,

521 U.S. 457, 469 (1997). Particularly with respect to compulsion, the Supreme

Court has made clear that not only is the state forbidden from literally forcing

people to speak, but it also cannot use peer pressure and psychological tactics to

achieve that end. See Lee, 505 U.S. at 593.

        Lee concerned public school graduation ceremonies where the state invited

members of the clergy to deliver prayers. The question was whether that violated

the Establishment and Speech Clauses. The state said there was no compulsion;


2
    Complaint ¶¶ 53, 55.
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students could refuse to participate in the prayer. Id. at 592. But the Court

recognized that “public pressure, as well as peer pressure” can be “as real as any

overt compulsion,” and when used to “enforce a religious orthodoxy,” is just as

unconstitutional as outright compulsion. Id. at 592–93. Importantly, the option of

remaining silent did not prove otherwise, because that “can signify adherence to

a view.” Id. It was “of little comfort to a dissenter,” the Court said, “to be told that

for her the act of standing or remaining in silence signifies mere respect, rather

than participation. What matters is that … a reasonable dissenter in this [context]

could believe that the group exercise signified her own participation or approval of

it.” Id.

       The panel here, however, found that there was no compulsion because all the

Plaintiffs had to do was provide the “correct” answers to the exam—as determined

by the state—Slip Op at 11, and although Plaintiffs were “required [to] attend[]”

the session, id., and were told at the outset that their “personal and

professional development” required them to “advocat[e] for changes in

political, economic, and social life,” id. at 10, 4—they were nevertheless not

coerced. That plainly ignores the lesson of Lee.

       Worse, in fact, because the pressures involved in Lee were miniscule

compared to the pressures exerted here.




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       It’s a matter of common knowledge that AR theory is one few public-school

employees dare to openly challenge, because they risk severe professional and

personal retaliation for doing so. Nothing is more fraught in today’s political

environment than for a public-school employee to openly disagree with AR

doctrine. To do so is to risk ostracism, the loss of professional opportunities,

widespread publicity, and—obviously—the career-ending accusation of racism.

See, e.g., Lanum, North Carolina Professor Claims he was Fired for Criticizing

Critical Race Theory, Files Suit, N.Y. Post (Dec. 22, 2022)3; Poff, Massachusetts

Teacher Fired for Opposing CRT on TikTok Sues Superintendent and Principal,

Wash. Examiner (Dec. 3, 2021).4 A California college even fired its director of

Diversity, Equity, and Inclusion—a black woman—because she opposed AR.

Quinn, A DEI Director Ousted for Questioning DEI?, Inside Higher Ed (Mar. 9,

2023).5

       Any rational person knows that “training” sessions like these aren’t places

where ideas are openly discussed. They’re confrontational exercises at which

disagreement is treated as a blameworthy aberration. Research demonstrates that



3
  https://nypost.com/2022/12/22/dr-david-phillips-sues-ncgs-claims-he-was-fired-
for-criticizing-critical-race-theory/.
4
  https://www.washingtonexaminer.com/policy/education/massachusetts-teacher-
fired-for-opposing-crt-on-tiktok-sues-superintendent-and-principal.
5
  https://www.insidehighered.com/news/2023/03/10/equity-director-targeted-she-
says-questioning-antiracist-orthodoxy.
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AR “function[s] as a cue that [white employees] are unwelcome or under-valued,”

and that in such training sessions, “contextual cues signal to [white] individuals

that they may be treated poorly, devalued, or made to feel that members of their

group do not belong.” Dover, et al., Members of High-Status Groups are

Threatened by Pro-Diversity Organizational Messages, 62 J. Experimental Psych.

45, 65 (2016). “Mandatory participation” in such sessions “send[s] the message

that employees need to change, and the employer will require it.” Dobbs & Kalev,

Why Diversity Training Doesn’t Work, 10 Anthropology Now 48, 51 (2018).

      Worse, intimidation, pressure, and threats are built into AR, which, unlike

ordinary anti-discrimination principles, holds that for a white person to disagree

with AR’s theses—including the proposition that all white people are racist—is

“normative violence,” Applebaum, Being White, Being Good: White Complicity,

White Moral Responsibility, and Social Justice Pedagogy 73, 172 (2011), or a form

of “denial[ism] [which] is a fundamental way in which white people maintain

unequal racial power.” DiAngelo, White Fragility 86 (2020).

      In other words, disagreeing with AR is automatically deemed racism. “The

claim of ‘not racist’ neutrality is a mask for being racist,” Kendi, How to be an

Antiracist 10 (2023) and being deemed a racist is tantamount to termination.

      Public school employees especially are pressured not to speak against the

AR dogma that all white people are racists, because doing that “is rooted in white


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ideologies of teacher professionalism that proclaims all students should be treated

equally, but when white teachers profess not to see color, what they are doing is

performing in fear of being labeled ‘bad,’ ‘racist,’ or ‘unprofessional’….

Colorblind pedagogies … and treating everyone equally [is a] … performative fear

[that] results in the marginalization of the lived racial disparities experienced by

their Students of Color.” Jones, et al., On “Ceding Space”: Pushing Back on

Idealized Whiteness to Foster Freedom for Students of Color, in Browne & Jean-

Marie, eds., Reconceptualizing Social Justice in Teacher Education: Moving to

Anti-Racist Pedagogy 94 (2022) (emphasis removed). Indeed, Sharif El-Mekki,

Founder of the Center for Black Educator Development, says that anybody who

disagrees with AR theory is “unfit to teach Black and brown children.” See El-

Mekki, No, You Should Not Be Teaching Black Children if You Reject Anti-

Racism, EdPost (May 5, 2021).6

       Because it perceives the mere absence of racism as itself racism, AR deems

any white person who objects to its propositions—such as the idea that the

American constitutional order is inherently racist—as either a racist deserving of

denunciation, or is, at best, in need of learning “racial humility”—i.e., not to




6
 https://www.edpost.com/stories/no-you-should-not-be-teaching-black-children-if-
you-reject-anti-racism.
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express her opinions. See DiAngelo, Nice Racism: How Progressive White People

Perpetuate Racial Harm 87 (2021).

       In fact, not only is expressing disagreement with AR ideology taken as proof

of one’s racism, see generally McWhorter, The Dehumanizing Condescension of

White Fragility, The Atlantic (July 14, 2020),7 but even agreeing with it can be a

form of racism, because that, too, shows insufficient “humility” and “comes from a

place of superiority and/or a desire to be forgiven.” Morrison, Becoming

Trustworthy White Allies, Reflections (Spring 2013)8; Reid, No More White

Saviours, Thanks, The Guardian (Sep. 19, 2021).9

       Mandatory AR sessions are therefore inherently exercises in peer pressure,

intimidation, bullying, and “implicit threat[s]” of ostracism and retaliation. Speech

First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th Cir. 2019). Any reasonably prudent

person would feel coerced into professing agreement with the training’s content.

“By mandating participation, employers send the message that employees need to

change and the employer will require it … [and] that external government

mandates are behind the training. These features may lead employees to think that

commitment to [AR] is being forced.” Dobbin & Kalev, supra.


7
  https://www.theatlantic.com/ideas/archive/2020/07/dehumanizing-
condescension-white-fragility/614146/.
8
  https://reflections.yale.edu/article/future-race/becoming-trustworthy-white-allies.
9
  https://www.theguardian.com/world/2021/sep/19/no-more-white-saviours-thanks-
how-to-be-a-true-anti-racist-ally.
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      Thus the panel’s conclusion that nobody was compelled to speak here

ignores context, and establishes a precedent whereby the state can bring enormous

pressure to bear on people to “prescribe what shall be orthodox in politics,”

Barnette, 319 U.S. at 642—with impunity.

                                  CONCLUSION

      The petition should be granted, and the decision of the panel should be

reversed.

Respectfully submitted this 4th day of October, 2024.

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C), I certify that:

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 2,475 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

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32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in proportionately spaced typeface using Microsoft Word

Times New Roman 14-point font.

Date: October 4, 2024

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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2024, I electronically filed the

foregoing document with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit by using the appellate CM/ECF system.

I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

/s/ Timothy Sandefur
Timothy Sandefur




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